                      Case 9:05-bk-04170-ALP                       Doc 54         Filed 06/12/06            Page 1 of 5
                                      UNITED STATES BANKRUPTCY COURT
                                         MIDDLE DISTRICT OF FLORIDA
                                            FORT MYERS DIVISION

Joseph Kelly, Jr.                                                         Case No. 05-04170-9P3
Jerri E. Kelly
AKA: Jerri E. Holley; Jerri H. Kelly
Debtor(s)
______________________________/


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                          TRUSTEE'S FINAL REPORT AND ACCOUNTING
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   Jon M. Waage, Chapter 13 Standing Trustee of the estate of the above-named

Debtor(s), certifies to the Court and the United States Trustee, that this estate has

been fully administered. A Trustee's Final Report has been filed and proper

disbursements completed. No funds or assets of the estate remain.

   Therefore, pursuant to FRBP 5009, the Trustee requests that this final account be

accepted, and that the Court order the case closed and discharge the Trustee of any

further duties.

        Dated June 9, 2006.



                                                               /s/ Jon M. Waage
                                                               Jon M. Waage
                                                               Chapter 13 Standing Trustee
                                                               P.O. Box 25001
                                                               Bradenton, FL 34206-5001
                                                               Phone (941) 747-4644
                                                               Fax (941) 750-9266


JMW/cf
                           Case 9:05-bk-04170-ALP                         Doc 54      Filed 06/12/06           Page 2 of 5
                                                 United States Bankruptcy Court
                                                                           FOR THE
                                                           Middle District of Florida

IN RE:    Joseph Kelly, Jr.                 & Jerri E. Kelly                                    CASE No. 05-04170-9P 3
          13442 Bristol Park Way
          Fort Myers, FL 33913

                                                 FINAL REPORT AND ACCOUNT
                                                                       DATED: 06/09/2006
                                                                       Discharged Paid Out

  Pursuant to Chapter 13 Rule 2015(a)(6), your trustee has maintained a detailed record of all receipts, including
the source or other identification of each receipt and of all disbursements. Copies of these detailed records
have been filed with the Court, or are attached hereto, and as provided by Chapter 13 Rule 2015(a)(6) are
incorporated by reference in this report.

RECEIPTS: Amount paid to the Trustee by or for the Debtor for benefit of creditors.                         $31,404.49

 Claim              Creditor's                                 Classification  Amount              Amount Paid              Balance
 Number                Name                                                    Allowed        Principal    Interest          Due
 002        Daimlerchrysler Services                           Secured        2,436.22            0.00         0.00        2,436.22
 003        CitiBank/Choice                                    Unsecured      3,073.77            0.00         0.00        3,073.77
 004        United States Treasury                             Priority         962.16            0.00         0.00          962.16
 004        United States Treasury                             Unsecured        166.24            0.00         0.00          166.24
 005        TIB Bank of the Keys                               Secured       22,000.00       18,908.55    1,077.09         2,014.36
 005        TIB Bank of the Keys                               Unsecured      7,694.00        7,694.00         0.00            0.00
 006        eCast Settlement Corporation                       Unsecured        394.80          394.80         0.00            0.00
 007        Lee County Tax Collector                           Secured        3,095.46            0.00         0.00        3,095.46
 008        Capital One                                        Unsecured        643.98          643.98         0.00            0.00
 009        Daimler Chrysler Svcs, LLC                         Unsecured     15,786.68            0.00         0.00       15,786.68
 999        Joseph Kelly, Jr.                                  Debtor Refund       0.00         949.30         0.00            0.00

                                                                                                Interest                  $1,077.09
                                                                                                Trustee Commission        $1,736.77
Attorney                             :   Edward R. Miller, Esq.                                 Total Disbursements      $31,404.49
Date Filed                           :   3/9/2005
Date Confirmed                       :   9/21/2005
Date Terminated                      :   06/09/2006
Percent Paid Unsecured               :   31.46

                                                                            ___________________
                                                                            /s/ Jon M. Waage
                                                                                TRUSTEE
                                                         Case StatusDoc
                                        Case 9:05-bk-04170-ALP      Report
                                                                        54                            Filed 06/12/06              Page 3 of 5
                                                         Tampa Division Jon M. Waage, Chapter 13 Standing Trustee                                                          Page    1
                                                            Status of Case as of     06/09/2006 10:59 AM                                                                   Chapter 13
 05-04170-9-P                                               Discharged Paid Out on 06/09/2006 - Final Rpt
                     Joseph Kelly, Jr.                                                                                                        37 Rmng of 51 Mos.
                     Jerri E. Kelly                                                                                                           Percent Pay Uns      100
                     13442 Bristol Park Way                                  Atty: Edward R. Miller, Esq.                                     SSN: xxx-xx-5253 xxx-xx-6701
                                                                                    (239)775-2000                                             Debtor Plan Payment: $853.00 / M
                     Fort Myers FL 33913                                     Discharged Paid Out
 Debtor Type:                                                                Emplyr:
                                                                                   ----- Last 6 Payments -----
 Filed                     03/09/2005                              2/24/2006    $27,465.49         10/25/2005          $853.00                     Total Paid In                $31,404.49
 First Mtg                 04/28/2005                               1/5/2006        $853.00         10/6/2005          $230.00
 Confirmed                 09/21/2005                              12/6/2005        $853.00         8/31/2005          $230.00
 Plan Filed
 Start Pmts                04/15/2005
 Bar Date                  07/27/2005

                                               Graduated Payment Plan
                                  Months               1    Thru      6                     $230.00       Per Month =                 $1,380.00
                                  Months               7    Thru      51                    $853.00       Per Month =                $38,385.00



Creditor                                                Clm       Last                   Int Fixed       Disb         Debt        Principal       Claimed          Tot Int Pd     Balance
Name                         Number            Held     Num       Pymt      Term         Rate Pymnt      Code         /Value       Paid           /Pd Dir          /Accrd Int   /% Uns Paid


Daimlerchrysler Services                                002-0               Sec                            20             $0.00                    $33,097.46                   Not Filed
                             DAIMLER5
CitiBank/Choice                                         003-0               Uns                            75         $3,073.77                     $3,073.77                   Disallwd
                             CIT/CHOICE
United States Treasury                                  004-0               Pri                            30          $962.16                        $962.16                   Direct
                             IRS.FTL
United States Treasury                                  004-1               Uns                            75          $166.24                        $166.24                   Direct
                             IRS.FTL
TIB Bank of the Keys                                    005-0 4/11/2006     Sec            8.00            20        $22,000.00     $18,908.55     $22,000.00       $1,077.09         $0.00
                             TIB BK KEY                                                                                                             $3,091.45
TIB Bank of the Keys                                    005-1 4/11/2006     Uns                            75         $7,694.00      $7,694.00      $7,694.00                        $0.00
                          TIB BK KEY                                                                                                                                             100.00
eCast Settlement Corporation                            006-0 4/11/2006     Uns                            75          $394.80         $394.80        $394.80                        $0.00
                          ECAST                                                                                                                                                  100.00
Lee County Tax Collector                                007-0               Sec                            22             $0.00                     $3,095.46                   CrPaid
                          LEE.TAX
Capital One                                             008-0 4/11/2006     Uns                            75          $643.98         $643.98        $643.98                        $0.00
                          CAPIT/TSYS                                                                                                                                             100.00
Daimler Chrysler Svcs, LLC                              009-0               Uns                            75        $15,786.68                    $15,786.68                   Contingnt
                          DAIM CHRY
                                                        999-0 4/11/2006     Rfd                            89             $0.00        $949.30                                        $0.00

Jon M. Waage, Trustee Commissi                          TRS-0 4/11/2006     Tru                            00         $1,736.77      $1,736.77                                        $0.00
                        TRSJMW


                                                                                                                     $32,469.55    $30,327.40                      $1,077.09
                          Secured            Priority   Unsecured           Admin        Attorney       Continuing         Other                   Amount Available                   $0.00
 Total Debt              $22,000.00             $0.00     $8,732.78          $0.00            $0.00         $0.00            $0.00                 Funds Held                         $0.00
 Total Paid              $18,908.55             $0.00     $8,732.78          $0.00            $0.00         $0.00        $2,686.07                 Principal Balance                  $0.00
 Total Int Pd             $1,077.09             $0.00         $0.00          $0.00            $0.00                          $0.00
 Balance Due                  $0.00             $0.00         $0.00          $0.00            $0.00                      ($949.30)                 Delinquent                         $0.00




Entered         Action            Clm Code                                  ---- Case Notes ----
04/19/06                                       Discharge Date: 4/13/06-cf

04/12/06        04/12/06                TM Notice of Completion submitted 4/12/06
03/20/06                                   Case reviewed for completion            (drt)
02/24/06                                   CASE ON HOLD FOR 30 DAYS DUE TO PAYMENT OVER $5,000.00-cf-taken off 3/27/06-dll
01/27/06                                   Case audited for payoff = $27,465.49 (w/o claim no. 7 ) good thru 03/15/06
09/27/05                                   Transferred $ 1,150.00 to Confirmed Money on 9/27/2005
09/22/05                                   (or longer to pay uns. 100%)
07/13/05                                   rec'd 2003,2004 tax returns & pay stubs
06/22/05                                   M/ to value collateral 7/18/2005 @ 10:00
04/13/05                                   debtor mailing payment 4-13-05

03/29/05        03/29/05                FV     PCO Submitted
                                         Case Status Report -Doc
                              Case 9:05-bk-04170-ALP         Receipts
                                                                  54 History
                                                                       Filed 06/12/06                             Page 4 of 5
                                                                                                                                                      Page    2
                                                         Status as of            6/9/2006                                                             Chapter 13
 05-04170-P
              Joseph Kelly, Jr.                                       Jerri E. Kelly
              13442 Bristol Park Way
                                                                    Atty: Edward R. Miller, Esq.                             37 Rmng of 51 Mos.
              Fort Myers FL 33913                                   Discharged Paid Out                                      Payment:       $853.00   Per M
              First Pmt Date      04/15/2005             Delinquent       $0.00


                                  Graduated Payment Plan
                         Months           1    Thru      6                         $230.00     Per Month =            $1,380.00
                         Months           7    Thru      51                        $853.00     Per Month =           $38,385.00


Check         Batch Id                 Date         Amount Paid         Src      Type                        Description                          Employer


39110             06020031              2/24/2006        $27,465.49       RP     Regular Payment             Amount out of range, Please Verify
5321337           06010004               1/5/2006           $853.00       RP     Regular Payment
5321310           05120010              12/6/2005           $853.00       RP     Regular Payment
5321184           05100034             10/25/2005           $853.00       RP     Regular Payment
7083250           05100007              10/6/2005           $230.00       RP     Regular Payment
6511796           05080046              8/31/2005           $230.00       RP     Regular Payment
5320939           05070027              7/22/2005           $230.00       RP     Regular Payment
5320672           05060040              6/24/2005           $230.00       RP     Regular Payment
5996720           05050040              5/24/2005           $230.00       RP     Regular Payment
5996947           05040033              4/19/2005           $230.00       RP     Regular Payment

Total                                  $31,404.49
                                                  Case Status Report
                                      Case 9:05-bk-04170-ALP     Doc - Disburse
                                                                        54 FiledHistory
                                                                                     06/12/06                     Page 5 of 5
                                                                                                                                          Page 3
                                                           Status as of                    6/9/2006                                       Chapter 13
05-04170-P            Joseph Kelly, Jr.                            Jerri E. Kelly
                      13442 Bristol Park Way
                                                                   Atty: Edward R. Miller, Esq.
                      Fort Myers FL 33913                          Discharged Paid Out

Clm      Date           Name                                     Check#              Principal         Int Pd            Total Paid   R   Type
Num


005- 0    4/11/2006     TIB Bank of the Keys                    465250          $16,009.29              $382.02        $16,391.31         Y
005- 0    1/24/2006     TIB Bank of the Keys                    460120             $646.71              $131.65           $778.36         Y
005- 0   12/22/2005     TIB Bank of the Keys                    457865             $508.28              $270.08           $778.36         Y
005- 0   10/25/2005     TIB Bank of the Keys                    453287           $1,744.27              $293.34         $2,037.61         Y
                                                                                $18,908.55            $1,077.09        $19,985.64

005- 1    4/11/2006     TIB Bank of the Keys                    465250              $7,694.00            $0.00          $7,694.00         Y
                                                                                    $7,694.00            $0.00          $7,694.00

006- 0    4/11/2006     eCast Settlement Corporation            465101               $394.80             $0.00           $394.80          Y
                                                                                     $394.80             $0.00           $394.80

008- 0    4/11/2006     Capital One                             464991               $643.98             $0.00           $643.98          Y
                                                                                     $643.98             $0.00           $643.98

999- 0    4/11/2006     Joseph Kelly, Jr.                       465092               $949.30             $0.00           $949.30          Y
                                                                                     $949.30             $0.00           $949.30

TRS- 0 4/11/2006        Jon M. Waage, Trustee Commission        465252              $1,392.10            $0.00          $1,392.10         Y
TRS- 0 1/24/2006        Jon M. Waage, Trustee Commission        460142                 $74.64            $0.00             $74.64         Y
TRS- 0 12/22/2005       Jon M. Waage, Trustee Commission        457883                 $74.64            $0.00             $74.64         Y
TRS- 0 10/25/2005       Jon M. Waage, Trustee Commission        453309                $195.39            $0.00            $195.39         Y
                                                                                    $1,736.77            $0.00          $1,736.77

                        Grand Total                                             $30,327.40            $1,077.09        $31,404.49
